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                                                        January 9, 2014

VIA ECF

Honorable Mark Falk
United States District Court
District of New Jersey
50 Walnut Street
Newark, NJ 07101


            Re:   Hoffman v. Clemens, et al., Civil Action No. 13-7924 (WJM)(MF)


Dear Magistrate Judge Falk:

       This office represents the Defendants in the above-referenced action, wherein a status
conference has been scheduled for Monday, January 13th at 11 a.m. In advance of that
conference, I am writing regarding the clerk’s entry of default against Whole Body Research,
LLC earlier today.

       Thus far, Whole Body Research has removed this action to District Court; this office has
noticed an appearance; and we have written to the Court in response to Plaintiff’s letter of
January 2, 2014. Obviously, Whole Body Research, as well as our other clients, Altern
Marketing, LLC and Curt Clemens, intends to defend this action.

       I would prefer not to burden the Court with a motion to set aside today’s entry of default.
As a precaution, however, I spoke with Mr. Hoffman this morning via telephone and asked him
whether such a motion would even be opposed. Mr. Hoffman took the request under advisement
and said he would not move for default judgment prior to Monday’s status conference.

        Accordingly, Defendants respectfully request that during the status conference, the Court
establish a timeline for responding to the Complaint and/or the Notice of Removal. We will
await further guidance from the Court on this matter.

                                                     Respectfully submitted,



                                                      Scott Shaffer
cc: Harold M. Hoffman, Esq. (via ECF)




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